           Case 1:21-cr-00096-RC Document 20 Filed 08/16/21 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
v.                                         ) Criminal Case No: 1:21-CR-00096
                                           )
MICHAEL STEPAKOFF,                         )
                                           )
                       Defendant.          )
__________________________________________)


                               JOINT MOTION TO CONTINUE

       This matter is currently scheduled for a status conference on August 26, 2021.

       The parties have engaged in productive plea negotiations and are near full resolution. The

parties are asking for additional time to submit the final agreement to this court.

       The parties jointly request a continuance to September 24, 2021. The parties agree that

the time between August 26, 2021 and September 24, 2021 should be excluded pursuant to the

Speedy Trial Act, 18 U.S.C. 3161(h)(7)(A) and (B)(iv), as the ends of justice for the continuance

outweigh the best interest of the public and the defendant in a speedy trial.


Counsel for Defendant:                             Counsel for the United States:

  /s/                                                /s/
  ______________________________                     ______________________________
  Marina Medvin, Esq.                                Alison B. Prout
  DC Bar No. 995966                                  Georgia Bar No. 141666
  MEDVIN LAW PLC                                     Assistant United States Attorney
  916 Prince St., Ste 109                            555 Fourth Street, N.W.
  Alexandria, VA 22314                               Washington, DC 20530
  Tel: 888-886-4127                                  Phone: (404) 772-4456
